




&lt;HTML&gt; 

&lt;HEAD&gt; 

&lt;META NAME="Generator" CONTENT="WordPerfect 9"&gt; 

&lt;TITLE&gt;&lt;/TITLE&gt; 

&lt;/HEAD&gt; 

&lt;BODY TEXT="#000000" LINK="#0000ff" VLINK="#551a8b" ALINK="#ff0000" BGCOLOR="#c0c0c0"&gt; 

 

&lt;P&gt;&lt;SPAN STYLE="font-size: 14pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;STRONG&gt;&lt;/CENTER&gt; 

&lt;/STRONG&gt;&lt;/P&gt; 

 

&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt; 

&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt; 

&lt;P&gt;&lt;STRONG&gt;&lt;HR ALIGN="CENTER" WIDTH="26%"&gt; 

&lt;/STRONG&gt;&lt;/P&gt; 

&lt;CENTER&gt;NO. 03-0&lt;A NAME="1"&gt;1&lt;/A&gt;-00&lt;A NAME="2"&gt;004&lt;/A&gt;-CR&lt;/CENTER&gt; 

 

 

&lt;P&gt;&lt;STRONG&gt;&lt;HR ALIGN="CENTER" WIDTH="26%"&gt; 

&lt;/STRONG&gt;&lt;/P&gt; 

 

 

 

&lt;CENTER&gt;&lt;A NAME="3"&gt;Robert Scott Paradise&lt;/A&gt;, Appellant&lt;/CENTER&gt; 

 

 

&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt; 

&lt;P&gt;&lt;STRONG&gt;&lt;CENTER&gt;v.&lt;/CENTER&gt; 

&lt;/STRONG&gt;&lt;/P&gt; 

 

&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt; 

&lt;P&gt;&lt;STRONG&gt;&lt;CENTER&gt;The State of Texas, Appellee&lt;/CENTER&gt; 

&lt;/STRONG&gt;&lt;/P&gt; 

 

&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt; 

&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt; 

&lt;P&gt;&lt;STRONG&gt;&lt;HR SIZE="3"&gt; 

&lt;/STRONG&gt;&lt;/P&gt; 

&lt;SPAN STYLE="font-size: 11pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;FROM THE DISTRICT COURT OF &lt;A NAME="4"&gt;TOM GREEN&lt;/A&gt; COUNTY, &lt;A NAME="5"&gt;119TH&lt;/A&gt; JUDICIAL DISTRICT&lt;/CENTER&gt; 

&lt;/STRONG&gt;&lt;/SPAN&gt; 

 

&lt;P&gt;&lt;SPAN STYLE="font-size: 11pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;NO. &lt;A NAME="6"&gt;B-99-0393-S&lt;/A&gt;, HONORABLE &lt;A NAME="7"&gt;BEN WOODWARD&lt;/A&gt;, JUDGE PRESIDING&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;STRONG&gt;&lt;/CENTER&gt; 

&lt;/STRONG&gt;&lt;/P&gt; 

 

&lt;P&gt;&lt;STRONG&gt;&lt;HR SIZE="3"&gt; 

&lt;/STRONG&gt;&lt;/P&gt; 

 

 

 

Robert Scott Paradise appeals from an order revoking community supervision. &nbsp;The 

underlying offense is burglary of a building. &nbsp;&lt;EM&gt;See&lt;/EM&gt; Tex. Penal Code Ann. &nbsp;30.02 (West Supp. 2001). &nbsp;

The sentence is incarceration in a state jail for one year. 

 

&lt;P&gt;Appellant's court-appointed attorney filed a brief concluding that the appeal is 

frivolous and without merit. &nbsp;The brief meets the requirements of &lt;EM&gt;Anders v. California&lt;/EM&gt;, 386 U.S. 738 

(1967), by presenting a professional evaluation of the record demonstrating why there are no 

arguable grounds to be advanced. &nbsp;&lt;EM&gt;See also&lt;/EM&gt; &lt;EM&gt;Penson v. Ohio&lt;/EM&gt;, 488 U.S. 75 (1988); &lt;EM&gt;High v. State&lt;/EM&gt;, 573 

S.W.2d 807 (Tex. Crim. App. 1978); &lt;EM&gt;Currie v. State&lt;/EM&gt;, 516 &nbsp;S.W.2d 684 (Tex. Crim. App. 1974); 

&lt;EM&gt;Jackson v. State&lt;/EM&gt;, 485 S.W.2d 553 (Tex. Crim. App. 1972); &lt;EM&gt;Gainous v. State&lt;/EM&gt;, 436 S.W.2d 137 (Tex. 

Crim. App. 1969). &nbsp;A copy of counsel's brief was delivered to appellant, and appellant was advised 

of his right to examine the appellate record and to file a pro se brief. &nbsp;No pro se brief has been filed.&lt;/P&gt; 

 

&lt;P&gt;We have reviewed the record and counsel's brief and agree that the appeal is frivolous 

and without merit. &nbsp;We find nothing in the record that might arguably support the appeal.&lt;/P&gt; 

 

&lt;P&gt;The order revoking community supervision is affirmed.&lt;/P&gt; 

 

&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt; 

&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt; 

&lt;P&gt;				__________________________________________&lt;/P&gt; 

 

&lt;P&gt;				David Puryear, Justice&lt;/P&gt; 

 

&lt;P&gt;Before Justices Kidd, B. A. Smith and Puryear&lt;/P&gt; 

 

&lt;P&gt;Affirmed&lt;/P&gt; 

 

&lt;P&gt;Filed: &nbsp;&nbsp;August 9, 2001&lt;/P&gt; 

 

&lt;P&gt;Do Not Publish&lt;/P&gt; 

 

&lt;/BODY&gt; 

&lt;/HTML&gt; 

&lt;HTML&gt; 

&lt;HEAD&gt; 

&lt;META NAME="Generator" CONTENT="WordPerfect 9"&gt; 

&lt;TITLE&gt;&lt;/TITLE&gt; 

&lt;/HEAD&gt; 

&lt;BODY TEXT="#000000" LINK="#0000ff" VLINK="#551a8b" ALINK="#ff0000" BGCOLOR="#c0c0c0"&gt; 

 

&lt;P&gt;&lt;SPAN STYLE="font-size: 14pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;STRONG&gt;&lt;/CENTER&gt; 

&lt;/STRONG&gt;&lt;/P&gt; 

 

&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt; 

&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt; 

&lt;P&gt;&lt;STRONG&gt;&lt;HR ALIGN="CENTER" WIDTH="26%"&gt; 

&lt;/STRONG&gt;&lt;/P&gt; 

&lt;CENTER&gt;NO. 03-0&lt;A NAME="1"&gt;1&lt;/A&gt;-00&lt;A NAME="2"&gt;004&lt;/A&gt;-CR&lt;/CENTER&gt; 

 

 

&lt;P&gt;&lt;STRONG&gt;&lt;HR ALIGN="CENTER" WIDTH="26%"&gt; 

&lt;/STRONG&gt;&lt;/P&gt; 

 

 

 

&lt;CENTER&gt;&lt;A NAME="3"&gt;Robert Scott Paradise&lt;/A&gt;, Appellant&lt;/CENTER&gt; 

 

 

&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt; 

&lt;P&gt;&lt;STRONG&gt;&lt;CENTER&gt;v.&lt;/CENTER&gt; 

&lt;/STRONG&gt;&lt;/P&gt; 

 

&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt; 

&lt;P&gt;&lt;STRONG&gt;&lt;CENTER&gt;The State of Texas, Appellee&lt;/CENTER&gt; 

&lt;/STRONG&gt;&lt;/P&gt; 

 

&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt; 

&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt; 

&lt;P&gt;&lt;STRONG&gt;&lt;HR SIZE="3"&gt; 

&lt;/STRONG&gt;&lt;/P&gt; 

&lt;SPAN STYLE="font-size: 11pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;FROM THE DISTRICT COURT OF &lt;A NAME="4"&gt;TOM GREEN&lt;/A&gt; COUNTY, &lt;A NAME="5"&gt;119TH&lt;/A&gt; JUDICIAL DISTRICT&lt;/CENTER&gt; 

&lt;/STRONG&gt;&lt;/SPAN&gt; 

 

&lt;P&gt;&lt;SPAN STYLE="font-size: 11pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;NO. &lt;A NAME="6"&gt;B-99-0393-S&lt;/A&gt;, HONORABLE &lt;A NAME="7"&gt;BEN WOODWARD&lt;/A&gt;, JUDGE PRESIDING&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;STRONG&gt;&lt;/CENTER&gt; 

&lt;/STRONG&gt;&lt;/P&gt; 

 

&lt;P&gt;&lt;STRONG&gt;&lt;HR SIZE="3"&gt; 

&lt;/STRONG&gt;&lt;/P&gt; 

 

 

 

Robert Scott Paradise appeals from an order revoking community supervision. &nbsp;The 

underlying offense is burglary of a building. &nbsp;&lt;EM&gt;See&lt;/EM&gt; Tex. Penal Code Ann. &nbsp;30.02 (West Supp. 2001). &nbsp;

The sentence is incarceration in a state jail for one year. 

 

&lt;P&gt;Appellant's court-appointed attorney filed a brief concluding that the appeal is 

frivolous and without merit. &nbsp;The brief meets the requirements of &lt;EM&gt;Anders v. California&lt;/EM&gt;, 386 U.S. 738 

(1967), by presenting a professional evaluation of the record demonstrating why there are no 

arguable grounds to be advanced. &nbsp;&lt;EM&gt;See also&lt;/EM&gt; &lt;EM&gt;Penson v. Ohio&lt;/EM&gt;, 488 U.S. 75 (1988); &lt;EM&gt;High v. State&lt;/EM&gt;, 573 

S.W.2d 807 (Tex. Crim. App. 1978); &lt;EM&gt;Currie v. State&lt;/EM&gt;, 516 &nbsp;S.W.2d 684 (Tex. Crim. App. 1974); 

&lt;EM&gt;Jackson v. State&lt;/EM&gt;, 485 S.W.2d 553 (Tex. Crim. App. 1972); &lt;EM&gt;Gainous v. State&lt;/EM&gt;, 436 S.W.2d 137 (Tex. 

Crim. App. 1969). &nbsp;A copy of counsel's brief was delivered to appellant, and appellant was advised 

of his right to examine the appellate record and to file a pro se brief. &nbsp;No pro se brief has been filed.&lt;/P&gt; 

 

&lt;P&gt;We have reviewed the record and counsel's brief and agree that the appeal is frivolous 

and without merit. &nbsp;We find nothing in the record that might arguably support the appeal.&lt;/P&gt; 

 

&lt;P&gt;The order revoking community supervision is affirmed.&lt;/P&gt; 

 

&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt; 

&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt; 

&lt;P&gt;				__________________________________________&lt;/P&gt; 

 

&lt;P&gt;				David Puryear, Justice&lt;/P&gt; 

 

&lt;P&gt;Before Justices Kidd, B. A. Smith and Puryear&lt;/P&gt; 

 

&lt;P&gt;Affirmed&lt;/P&gt; 

 

&lt;P&gt;Filed: &nbsp;&nbsp;August 9, 2001&lt;/P&gt; 

 

&lt;P&gt;Do Not Publish&lt;/P&gt; 

 

&lt;/BODY&gt; 

&lt;/HTML&gt; 


